828 F.2d 17Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Nathaniel SCOTT, Petitioner--Appellant,v.David A. GARRAGHTY, Warden, Attorney General of Virginia,Respondents--Appellees.
    No. 87-6050
    United States Court of Appeals, Fourth Circuit.
    Submitted June 29, 1987.Decided August 21, 1987.
    
      Nathaniel Scott, appellant pro se.
      Frank Snead Ferguson, Office of the Attorney General, for appellees.
      Before WIDENER, SPROUSE and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that an appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 would be without merit.  Because the dispositive issues recently have been decided authoritatively, we deny a certificate of probable cause to appeal, dispense with oral argument, and dismiss the appeal on the reasoning of the district court.  Scott v. Garraghty, C/A No. 86-73-R (E.D.Va., March 19, 1986).
    
    
      2
      DISMISSED.
    
    